                              UNITED STATES COURT OF APPEALS
                               DISTRICT OF COLUMBIA CIRCUIT
                                            333 Constitution Avenue, NW
                                             Washington, DC 20001-2866
                                    Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: Frontier Airlines, Inc.

                                    v.                                   Case No: 25-1002
                   U.S. Department of Transportation


                                           ENTRY OF APPEARANCE

The Clerk shall enter my appearance as         Retained      Pro Bono        Appointed (CJA/FPD)          Gov't counsel
for the    Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                Party Information
                (List each represented party individually - Use an additional blank sheet as necessary)

 Spirit Airlines, LLC




                                              Counsel Information
Lead Counsel: Joanne W. Young

                                                                    Email: jyoung@yklaw.com
Direct Phone: ( 202 )    255-3647       Fax: ( 202 )   331-3933

2nd Counsel:    David M. Kirstein

                                                                    Email: dkirstein@yklaw.com
Direct Phone: ( 202 )    255-2695       Fax: ( 202 )   331-3933

3rd Counsel: Donald L. Crowell III

                                                                    Email: dcrowell@yklaw.com
Direct Phone: ( 202 )    964-1545       Fax: ( 202 )   331-3933

Firm Name:      Kirstein & Young PLLC

Firm Address: 1750 K Street NW STE 700, Washington, DC 20006

                                                                    Email:
Firm Phone: ( 202 ) 331-3348 Fax: ( 202 ) 331-3933

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
